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                 EXHIBIT 11
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 DATE: March 29, 2017

 TO: Roku Inc.

     12980 Saratoga Avenue, Suite D

     Saratoga, California 95070

     Attn: Copyright Agent

     E-mail: copyright@roku.com

 I declare UNDER PENALTY OF PERJURY that:

 1. I am the owner, or an agent authorized to act on behalf of the owner, which owner's
 name is

 Komanda LLC and NTV America ("IP Owner"), of the following copyrighted work.

 Identify, in sufficient detail, the copyrighted work that you claim has been infringed upon,
 including providing any registration number or other identification, if available. Attach
 applicable documents, if any.

 See the attached letter from David Guerrero Liston for information about
 Komanda LLC’s and NTV America’s respective copyrighted works (the “Letter”)

 2. I have a good faith belief that the content described below and being made available
 to end users of the Company's products is not authorized by the IP owner, its agent, or
 the law, and therefore infringes the IP Owner's rights:

 Identify the content that you claim is infringing the copyright identified above.

 See the attached Letter.

 Where does the alleged infringing material appear? Please provide sufficient
 information to help us locate the content you are reporting.

 The infringing materials appear on the Roku channels with the following access
 codes: PMR38 and FLVM3.

 See the attached Letter for additional information.

 Please describe how the content infringes your or the IP owner's rights (this question
 may assist us with processing your claim and eliminate the potential need for follow-up
 questions should your notice be unclear).
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 The content is infringing Komanda LLC’s and NTV America’s respective rights by
 distributing their respective copyrighted programming without authorization.

 See the attached Letter for additional information.

 Identify, if possible, information sufficient to permit the Company to notify the channel
 application developer and/or service provider of the allegedly infringing content.

 See Schedule 1 in the attached Letter.

 3. I acknowledge that this Notice, including my contact information, may be provided to
 the channel application developer and/or service provider associated with the alleged
 infringing content.

 4. I may be contacted as follows:

 My Name: David Guerrero Liston, Esq.

 My Telephone: (212) 822-0160

 Company or Other IP Owner (if different from me):

 Lewis Baach pllc Kaufman Middlemiss
 The Chrysler Building
 405 Lexington Avenue, 62nd Floor
 New York, New York 10174

 Email: david.liston@lewisbaach.com



 Check one of the boxes below.

 The information I have provided in this statement is accurate.

 I agree: 

 I disagree: □

 Electronic or Physical Signature:

  /s David Guerrero Liston
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 March 29, 2017


 VIA EMAIL

 Roku, Inc.
 Attn: Douglas Weiss, Esq.
 Director, Business & Legal Affairs
 150 Winchester Circle
 Los Gatos, California 95032

        Re:     Notice of Copyright Infringement Through Roku Platform

 Dear Mr. Weiss:

          We represent Komanda LLC, (“Komanda”) and NTV America (“NTV America”) (collectively,
 the Notifying Parties). We write to notify you of entities that are using Roku, Inc. (“Roku”)’s platform
 to distribute Komanda’s and NTV’s content without authorization.

        Komanda is the worldwide copyright holder for certain content that is shown on Russian
 language television, including content that is shown on the Russian television network, Channel One.
 Among the programs to which Komanda is the copyright holder are the Russian television programs:
 Modny Prigovor (Модный Приговор) and Kontrolnaya Zakupka (Контрольная Закупка) (the
 “Komanda Copyrighted Content”).

         NTV America is the exclusive copyright holder in the United States for certain content that is
 shown on Russian language television, including content that is shown on the Russian television
 network, NTV. Among the programs to which NTV America is the copyright holder in the United
 States is the Russian television program, Sud prisyazhnykh (Суд присяжных) (the “NTV Copyrighted
 Content”).

         Komanda and NTV have launched an investigation to identify parties who are streaming their
 respective content without authorization. As a result of that investigation, the Notifying Parties have
 identified one entity, as set forth in Schedule 1 to this letter (the “Pirate”) who is distributing, without
 authorization, the Komanda Copyrighted Content and the NTV Copyrighted Content.

       The Pirate is rebroadcasting numerous Russian TV networks, including Channel One and NTV
 America on its respective Roku channels. The Pirate distributes the programming through the Roku
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 platform to a subscriber through the live rebroadcast of the Russian TV networks, the archived
 rebroadcast of the Russian TV networks, and/or through a video on demand library.

         Attached to this letter is screenshots that demonstrate the Pirate’s use of the Roku platform to
 distribute the Komanda Copyrighted Content and the NTV Copyrighted Content.

       Komanda has not authorized the Pirate, directly or indirectly, to distribute the Komanda
 Copyrighted Content in any manner whatsoever, including without limitation, the right to distribute the
 Komanda Copyrighted Content through any web streaming platform such as the Roku platform.

       NTV has not authorized the Pirate, directly or indirectly, to distribute the NTV Copyrighted
 Content in any manner whatsoever, including without limitation, the right to distribute the NTV
 Copyrighted Content through any web streaming platform such as the Roku platform.

       As Komanda and NTV did not authorize the Pirate to distribute the content, it is reasonable to
 assume that the Pirate is also distributing the content of other rightsholders without their authorization.

        In light of the evidence that each of the Pirate is streaming the Komanda Copyrighted Content
 and the NTV Copyrighted Content without the authorization of Komanda or NTV, we respectfully
 request that Roku immediately disable the Pirate’s channels on the Roku platform as well as on any
 devices or services offered by Roku.

        Please note, that the Pirate operated the Roku channels TVTEKA, INVID9, and DTV12, which
 were identified in my March 13 and March 20 DMCA notices to Roku. The Pirate has circumvented the
 removal of its Roku channels INVID9 and DTV12 by creating 2 new channels with Roku access codes
 PMR38 and FLVM3.

         The Pirate’s circumvention of Roku’s removal of its channels has been flagrant. As you can see
 in the attached screenshots, the Pirate merely changed the Roku access codes from the disabled channel
 codes to the new channel codes in the FAQ on the Pirate’s website (https://tvteka.com/faq/devices/roku)
 providing its subscribers with instructions about accessing its Roku channel. The new channels have the
 same name (TVTEKA) and logo as the original channels.

        The Pirate’s new channels, which are the subject of this DMCA Notice, are also streaming
 content from Komanda and NTV. The screenshots attached to this letter were taken on March 28, 2017
 from the Pirate’s channel with access code FLVM3, and show the Pirate continuing to distribute the
 Komanda Copyrighted Content and the NTV Copyrighted Content.

        Based on these screenshots, which demonstrate the Pirate’s circumvention of the removal of the
 offending channels and the Pirate’s continued infringement, we request that you immediately remove the
 Roku channels with the access codes PMR38 and FLVM3.

        In light of the Pirate’s egregious actions, we also request that you disable all channels associated
 with the developer account(s) that distributed the channels with the access codes TVTEKA, INVID9,
 DTV12, PMR38, or FLVM3 and that you permanently terminate their accounts as being repeat
 offenders.
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        We would appreciate if you provide us with confirmation that Roku has taken the requested
 actions to prevent the continued use of Roku’s services to facilitate the Pirate’s infringement of the
 Komanda Copyrighted Content and the NTV Copyrighted Content.

        Please do not hesitate to contact me at 212-822-0160 or david.liston@lewisbaach.com if you
 have any questions or if there is any additional information we can provide to you.

                                            Respectfully submitted,



                                            David Guerrero Liston

 cc:    Alex G. Patchen
        Anthony M. Capozzolo
        Ari J. Jaffess
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                                       Schedule 1

            1. TVTEKA
               Roku Channel Access Codes – PMR28, FLVM3
               Original Roku Channel Access Codes – INVID9, TVTEKA,
               DTV12
               c/o ARIEL IMPEX LP
               Franz-Joseph-Str. 11
               80801 Munich, Germany
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 TVTEKA Website – Changed to provide new Roku channel access codes in response to DMCA Notice




 Original TVTEKA Website
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 Adding TvTeka with channel code FLVM3
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  Showing new (and old) TvTeka

                                                                         TVTeka
                                                                         Roku Access Code –
                                                                         FLVM3
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  March 28, 2017 – Sud prisyazhnykh (Суд присяжных) – NTV Live Broadcast
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  March 28, 2017 – Modny Prigovor (Модный Приговор) – Live Broadcast
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  March 28, 2017 – Kontrolnaya Zakupka (Контрольная Закупка) – Archived Broadcast
